         Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 1 of 10



                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


JOHN GIDDIENS,                                       )
on behalf of himself and all others                  )
similarly situated,                                  )       Case No. 2:12-cv-02624-LDD
                                                     )
                       Plaintiff,                    )
                                                     )
       v.                                            )
                                                     )
LEXISNEXIS RISK SOLUTIONS, INC.,                     )
                                                     )
                                                     )
                       Defendants.                   )
                                                     )


                ANSWER TO PURPORTED CLASS ACTION COMPLAINT

       I.      PRELIMINARY STATEMENT

       1.      LexisNexis admits that plaintiff purports to bring this motion as a class action for

alleged violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 168, et seq. and otherwise

denies the allegations of this paragraph of the Complaint.

       II.     JURISDICTION AND VENUE

       2.      LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       3.      LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       III.    PARTIES

       4.      LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.



                                                 1
sf-3172383
         Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 2 of 10



       5.      LexisNexis admits that its affiliate, LexisNexis Screening Solutions Inc.

(“LNSSI”) prepares and sells various reports at the request of prospective employers, and that in

the two years prior to the filing of this action, LNSSI has operated in that capacity as a consumer

reporting agency within the meaning of the FCRA. LexisNexis also admits that it regularly does

business in this state and that it has a principal place of business as noted. Except as expressly

admitted, LexisNexis denies the allegations of this paragraph of the Complaint.

       IV.     FACTUAL ALLEGATIONS

               A.      Defendant’s Practices As A Consumer Reporting Agency And
                       Furnisher Of Consumer Reports For Employment Purposes

       6.      LexisNexis admits that in the two years prior to this action the entity that provided

the relevant employment report in this action operated in that capacity as a consumer reporting

agency within the meaning of the FCRA, and except as expressly admitted otherwise denies the

allegations of this paragraph of the Complaint.

       7.      LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       8.      LexisNexis denies the allegations in this paragraph of the Complaint.

       9.      LexisNexis admits that the entity that provided the relevant employment report in

this action prepares and sells consumer files at the request of prospective employers and

otherwise denies the remaining allegations in this paragraph of the Complaint.

       10.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       11.     LexisNexis denies the allegations in this paragraph of the Complaint.




                                                  2
         Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 3 of 10



       12.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       13.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       14.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       15.     LexisNexis denies the allegations in this paragraph of the Complaint.

       16.     LexisNexis denies the allegations in this paragraph of the Complaint.

       17.     LexisNexis denies the allegations in this paragraph of the Complaint.

               B.      The Experience Of The Representative Plaintiff

       18.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       19.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       20.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       21.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       22.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.




                                                 3
         Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 4 of 10



       23.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       24.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       25.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       26.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       27.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       28.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       29.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       30.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them. (The

next paragraph of the Complaint is mis-numbered paragraph 27, and this Answer follows the

Complaint’s numbering.)

       27.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       28.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.




                                                 4
         Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 5 of 10



       29.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       30.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       31.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       32.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       33.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       34.     LexisNexis denies the allegations in this paragraph of the Complaint.

       35.     LexisNexis lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       36.     LexisNexis admits that the referenced report refers to the “Court of Common

Please” as the source of the expunged case, denies that the background report was

“Defendant’s,” and otherwise lacks sufficient knowledge or information to form a belief as to the

truth of the allegations of this paragraph of the Complaint and on that basis denies them.

       37.     LexisNexis denies the allegations in this paragraph of the Complaint.

       38.     LexisNexis admits that counsel for Mr. Giddiens sent a letter to “LexisNexis

Consumer Print Center” that purported to constitute a dispute of a consumer report, and

otherwise denies the remaining allegations of this paragraph of the Complaint.

       39.     LexisNexis denies the allegations in this paragraph of the Complaint.

       40.     LexisNexis denies the allegations in this paragraph of the Complaint.




                                                 5
         Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 6 of 10



       41.     LexisNexis denies the allegations in this paragraph of the Complaint.

       42.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       43.     LexisNexis denies the allegations in this paragraph of the Complaint.

       V.      CLASS ACTION ALLEGATIONS

       44.     LexisNexis admits that plaintiff purports to seek to represent a class of individuals

of the stated description, states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       45.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       46.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       47.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       48.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.




                                                  6
         Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 7 of 10



       49.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       50.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       VI.     CAUSES OF ACTION

                               COUNT ONE – FCRA § 1681e(b)

       51.     In response to this paragraph, LexisNexis realleges and incorporates by reference

each preceding paragraph of this answer as if fully set forth herein.

       52.     LexisNexis denies the allegations in this paragraph of the Complaint.

                                 COUNT TWO – FCRA § 1681i

       53.     In response to this paragraph, LexisNexis realleges and incorporates by reference

each preceding paragraph of this answer as if fully set forth herein.

       54.     LexisNexis denies the allegations in this paragraph of the Complaint.

                                COUNT THREE-FCRA §1681k

       55.     LexisNexis denies the allegations in this paragraph of the Complaint.

       VII.    JURY TRIAL DEMAND

       56.     LexisNexis states that no response to the allegations of this paragraph is necessary

as they consist solely of legal conclusions, and otherwise denies the allegations of this paragraph

of the Complaint.

       Without admitting any of the allegations of the Complaint and without admitting or

acknowledging that LexisNexis bears any burden of proof as to any of them, LexisNexis asserts

the following affirmative defenses. LexisNexis intends to rely upon any additional defenses that




                                                 7
          Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 8 of 10



become available or apparent during pretrial proceedings and discovery in this action and

reserves the right to amend this answer to assert such further defenses.

                                    FIRST AFFIRMATIVE DEFENSE

           1.      The First Amended Complaint fails to state any claim upon which relief can

be granted against either of the named LexisNexis Defendants, including in that the First

Amended Complaint has included as a defendant a non-existent entity and entities that are

unrelated to the conduct as alleged in the First Amended Complaint.

                                  SECOND AFFIRMATIVE DEFENSE

           2.      The First Amended Complaint fails to the extent Plaintiffs’ claims are barred

because LexisNexis is immune under the Communications Decency Act, 47 U.S.C. § 230 et seq.,

or Plaintiffs’ claims are otherwise preempted.

                                   THIRD AFFIRMATIVE DEFENSE

           3.      Plaintiffs failed to take reasonable steps to protect themselves from the

damage, if any, alleged in the First Amended Complaint and failed to mitigate any such alleged

damage.

                            FOURTH AFFIRMATIVE DEFENSE

           4.      Plaintiffs’ alleged damages, if any, are speculative or uncertain and therefore

not compensable.

                                         REQUEST FOR RELIEF

                       WHEREFORE, LexisNexis requests relief as follows:

           a.      That Plaintiffs take nothing by reason of their Complaint; and

           b.      That judgment be rendered in favor of LexisNexis;




                                                 8
         Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 9 of 10



           c.      That LexisNexis be awarded its costs of suit and attorney’s fees incurred in

defense of this action; and

           d.      For such further relief as the Court deems appropriate.

Dated: July 30, 2012                        Respectfully submitted,

                                            HANGLEY ARONCHICK SEGAL PUDLIN &
                                            SCHILLER, P.C.

                                            By:/s/ Sharon F. McKee
                                            Mark A. Aronchick (I.D. No. 20261)
                                            maronchick@hangley.com
                                            Sharon F. McKee (I.D. No. 81499)
                                            smckee@hangley.com
                                            One Logan Square, 27th Floor
                                            Philadelphia, Pennsylvania 19103
                                            Telephone: (215) 568-6200
                                            Facsimile: (215) 568-0300

                                            James McCabe (CA Bar No. 104686)
                                            MORRISON & FOERSTER LLP
                                            425 Market Street
                                            San Francisco, CA 94105-2482
                                            Telephone: 415.268.7000
                                            Facsimile: 415.268.7522

                                            Michael B. Miller (NY Bar No. 2449585)
                                            MORRISON & FOERSTER LLP
                                            1290 Avenue of the Americas
                                            New York, NY 10104-0050
                                            Telephone: 212.468.8000
                                            Facsimile: 212.468.7900

                                                 Attorneys for Defendant
                                                 LEXISNEXIS RISK SOLUTIONS, INC.




                                                9
        Case 2:12-cv-02624-LDD Document 10 Filed 07/30/12 Page 10 of 10



                                CERTIFICATE OF SERVICE

       I certify that on the 30th day of July, 2012, I electronically filed the foregoing Answer to

Purported Class Action Complaint on behalf of LexisNexis Risk Solutions, Inc. with the Clerk of

Courts using the CM/ECF system, which will send notification of such filing to CM/ECF

participants:


                                   James A. Francis, Esquire
                                   David A. Searles, Esquire
                                    Erin A. Novak, Esquire
                                 FRANCIS & MAILMAN, P.C.
                                 Land Title Building, 19th Floor
                                    100 South Broad Street
                                    Philadelphia, PA 19110

                               Sharon M. Dietrich, Esquire
                                Brendan Lynch, Esquire
                           COMMUNITY LEGAL SERVICES, INC.
                                  1424 Chestnut Street
                                 Philadelphia, PA 19102

                              Attorneys for Plaintiff and the Class




                                                     /s/ Sharon F. McKee
                                                     Sharon F. McKee




                                               10
